
44 So.3d 1271 (2010)
T.K., Mother of J.R.T., a Child, Appellant,
v.
DEPARTMENT OF CHILDREN AND FAMILIES, Appellee.
No. 5D10-2121.
District Court of Appeal of Florida, Fifth District.
October 6, 2010.
E. Juan Lynum of Lynum &amp; Associates, PLLC, Orlando, for Appellant.
Kelly A. Swartz, of Department of Children and Families, Rockledge, for Appellee.
Wendie Michelle Cooper, Appellate Counsel, Tavares, for Guardian ad Litem Program.

ON NOTICE OF CONCESSION OF ERROR
PER CURIAM.
Based on the Department of Children and Families' and the Guardian ad Litem Program's appropriate concessions of error, we reverse the underlying final judgment and remand for a new trial before a different judge.
REVERSED and REMANDED.
LAWSON, EVANDER and COHEN, JJ., concur.
